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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF KENTUCKY
                             AT LOUISVILLE


     UNITED STATES OF AMERICA                                    PLAINTIFF

     v.                      CRIMINAL ACTION NO. 3:19-CR-00208-RGJ

     JOSEPH SAMIR ZAKHARI                                     DEFENDANT


                                     ORDER
           Defendant Zakhari having asked the Court pursuant to

     18 U.S.C. § 3145(a)(2) to amend the location restriction

     requirement in his conditions of pretrial release (R. 8 at pg. 4

     ¶ (7)(p), Page ID # 16), and the Court having reviewed this matter
     de novo and being otherwise sufficiently advised,

           IT IS HEREBY ORDERED that Defendant’s Motion is

     GRANTED. The condition concerning Defendant’s location

     restriction is hereby amended by deleting the requirement of Home
     Incarceration (R. 8 at pg. 4 ¶ (7)(p)(iii), Page ID # 16) and approving

     the requirement of Home Detention (id. at ¶ (7)(p)(ii)). Defendant is

     therefore advised that he is “restricted to your residence at all

     times except for employment; education; religious services;

     medical, substance abuse, or mental health treatment; attorney

     visits; court appearances; court-ordered obligations; or other
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     activities approved in advance by the pretrial services office or
     supervising officer.”
